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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )
                                                 )
RICHARD W. GATES III,                            )            Crim. No. 17-201-2 (ABJ)
                                                 )
               Defendant.                        )


                         NOTICE OF SERVICE UPON DEFENDANT

        Undersigned counsel hereby notices the Court that, pursuant to Local Rule 44.5(d) a copy

of the Motion for Leave to Withdraw (ECF #161), Motion to File Under Seal (ECF #162), and

Exhibit 1 (filed under seal) have been served upon Richard W. Gates, III, the defendant in this

case. Exhibit 1 to this Notice is the subject of a separately filed motion for leave to file under

seal.



                                               Respectfully submitted,


                                               _/s/Shanlon Wu_______________
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